
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
Claimant seeks $5,630.67 for medical services provided to inmates in Mt. Olive Correctional Center, a facility of the respondent, during January and February 1996. Respondent, in its Answer, admits the validity of the claim, but states that there were insufficient funds in the appropriation for the fiscal year in question from which to pay the invoice.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Services, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
